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 5
     Attorney for defendant:
 6   BRANDON SAVALOJA
 7
 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
     UNITED STATES OF AMERICA,        )                   CRS 10-192 JAM
13                                    )
                Plaintiff,            )                   (AMENDED)
14                                    )                   WAIVER OF DEFENDANT’S
     v.                               )                   PRESENCE AND ORDER
15                                    )
     BRANDON SAVALOJA                 )
16                                    )
                Defendant             )
17                                    )
     ________________________________ )
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19
            The defendant, BRANDON SAVALOJA, is presently participating in a residential
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     drug treatment program located at THE EFFORT REHABILITATION FACILITY. Mr.
21
     Savaloja has only been in the program for approximately one month and does not want to
22
     miss any of his counseling sessions or group sessions unless absolutely necessary. Mr.
23
     Savaloja has requested that counsel waive his appearance whenever possible.
24
            The defendant, BRANDON SAVALOJA, hereby waives his right to be present in open
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     court upon the hearing of any motion or other proceeding in this cause, including, but not limited
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     to, when the case is ordered set for trial, when a continuance is ordered, and when any other
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     action is taken by the court before or after trial, except upon arraignment, plea, impanelment of a
28
     jury and imposition of sentence. Defendant hereby request the court to proceed during every
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 1   absence of his which the court may permit pursuant to this waiver; agrees that his interest will be
 2   deemed represented at all times by the presence of her attorney, the same as if the defendant were
 3   personally present; and further agrees to be present in court ready for trial any day and hour the
 4   court may fix in his absence.
 5
 6          Defendant further acknowledges that she he been informed of his rights under Title 18
 7   U.S.C. Section 3161 - 3174 (Speedy Trial Act), and has authorized his attorney to set times and
 8   delays under the provisions of that Act without defendant being present.
 9
     Dated: November 15, 2010                              /s/ Dina L. Santos for
10                                                         BRANDON SAVALOJA
                                                           Client
11
     Dated: November 15, 2010                              /s/ Dina L. Santos
12                                                         DINA L. SANTOS
                                                           Attorney for
13                                                         BRANDON SAVALOJA
14
15
16                                                ORDER
17
            It is so ordered.
18
19   Dated: November 15, 2010                              /s/ John A. Mendez
                                                           Hon. John A. Mendez
20                                                         U.S. District Court Judge
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